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                                 #:21577


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12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                     )   SUPPORT OF PLAINTIFFS’
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )
                                                           RESPONSE TO DEFENDANTS’
                                                       )   FIRST JUVENILE COORDINATOR
19            Defendants.                              )   REPORTS VOLUME 9 OF 12
20
                                                       )   [FILED UNDER SEAL
                                                           PURSUANT TO ORDER OF THE
21                                                         COURT DATED JULY 16, 2018]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM
25

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                                                  Declaration of
                ORLANDO M


        I, ORLANDO M                                                                         declare under penalty
of perjury that the following is true and correct to the best of my knowledge and recollection.

     1. I am 9 years old. I am from Patzingan, Catalinas, Michoacan, Mexico.
     2. I have two sisters,        s 8 years old and       is 4 years old. My mother's name is
     3. We came here yesterday. We took a bus from Michoacan to Morelia to Tijuana. The bus ride took two
         days and one night. Then we took a bus from Tijuana to the US. When we arrived here, they asked my
         mom some questions and they took my fingerprints and photo. They took my shoelaces away and threw
         them away. They also took my belt, but they did not throw that away, they put my belt in my suitcase.
         They gave me a burrito and a juice box. From there they took me to the room.
    4. Today I ate breakfast and lunch. For breakfast I ate cereal with a juice box. For lunch I had a burrito
         with a juice box. The lunch burrito was smaller than yesterday's burrito. There is no door in the
         bathroom. There is one sink. There is no soap. We have a water dispenser that you pump. They left
        two lights on last night. I do not have a pillow. I received one stick with a sponge for my teeth when I
        first arrived. There is one television on the other side of the window to the hallway. The television
        usually shows novellas and football. There is also one small window in the door. They have not offered
        us a shower.
    5. There are 63 people, a lot of people, in our room. There is no place for us to run and play because there
        is not enough space in the room. They never let me outside to play. I have not asked to go play outside,
        but I feel like I cannot ask. I like to run. My favorite sport is soccer, but I can't play soccer here. We
        don't have any games or books here.
    6. We are going to see my mom's aunt             in San Antonio, Texas. They have not let us use the
        telephone to call
    7. I have not seen my suitcase since yesterday. It is hard to walk without my shoelaces on my shoes. We
        take our shoes off when we're playing because it's too hard to keep them on.
    8. I was tired when they woke us up for breakfast this morning. Everyone has to wake up when they come
        get us for breakfast. The officers said I am not allowed to stay in bed and skip breakfast.


I, ORLANDO M                                        swear under penalty of perjury that the above declaration is
true and complete to the best of my abilities. This declaration was provided in English, a language in which I
am not fluent, but was read back to me in Spanish, a language in which I am fluent.



                                                           1 ~ ,~
                                                                    Date




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                                 Certificate of Translation


I, ROCIO HERBERT, certify that I am fluent in English and Spanish and that I read the above declaration to
ORLANDO M                                   in Spanish.




Orrick, H rrin on, & Sutcliffe
1000 Mars Rd.
Menlo Park, CA 94025




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                                          Declaration of
           MARIA E


         I, MARIA E                                                                    declare
 under penalty of perjury that the following is true and correct to the best of my knowledge and
 recollection.

    1. My date of birth is December 24, 1992. My daughter's name is
               She is two (2) years old and she was born on July 8, 2015. My daughter and I are
       Santa Eulalia, a town in Huehuetenango, Guatemala.

    2. I left Guatemala for many reasons. I have been married to my husband for four years.
       Two years ago, he began drinking every day. Approximately three times per week, he
       hits me and calls me bad names in front of my daughter. My husband forces me to stay in
       the house. He refuses to let me leave the house to work or get food. It has become very
       hard to feed myself or my daughter. I am scared of my husband, I think he might kill me
       and my daughter. I also left Guatemala because I am discriminated against because I am
       indigenous. I am a member of the Kanjobal tribe, we are descendants of Mayans. The
       Hispanic Guatemalan people won't hire me. This makes it impossible for me to support
       my daughter and myself.

    3. We presented ourselves at the border about three days ago. I believe that it was on or
       about July 4, 2018 around 9:00PM. We were taken to a room very close to the border
       with eight other people. We spent the night there and then were moved to a room in the
       San Ysidro Pedestrian West Facility. The room here is very crowded, there are about
       thirty-five adults and many children in the room. The room is approximately twenty-five
       (25) by fifteen (15) feet.

    4. We were given food upon arrival and have been feed approximately every six hours. My
       daughter gets hungry between meals, but there are no snacks for her to have between
       meals. There is water in the room at all times.

    5. There is a restroom in the room where I am staying. There is a small metal wall
       separating the bathroom from the sleeping area. There is no soap in the restroom. This
       bothers me because I cannot wash my hands after using the restroom and no one in there
       can wash their hands. I am worried that I might get sick or my daughter might get sick.

    6. Since I have been here, I haven't been able to understand everything that the officials and
       guards have told me. I speak a Mayan dialect called Kanjobal. I understand most Spanish,
       but only when people speak very slowly. No one has talked to me about my rights or my
       daughter's rights since I've been here. An official told me that I have a right to have an




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         attorney, but I don't know how to contact an attorney. No one has given me any
         information about how to contact an attorney.

    7.    My best friend lives in El Monte, California and has said that she will sponsor me. I have
         not been able to contact my friend yet.

 I, MARIA E                                           wear under penalty of perjury that the above
 declaration is true and complete to the best of my abilities. This declaration was provided in
 English, a language in which I am not fluent. The declaration was read back to me in Spanish, a
 language in which I am fluent.



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                                                              Date




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                                   Certificate of Translation


 I, HECTOR RIVERA, certify that I am fluent in English and Spanish and that I read the above
 declaration to MARIA E                                  in Spanish.




 HECTOR RIVERA
 ORRICK
 1000 Marsh Road
 Menlo Park, CA




 Date




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                                                 Declaration of
                     LEXYER B


        I, LEXYER B                                                             declare under penalty of perjury
that the following is true and correct to the best of my knowledge and recollection.

    1. I am 17 years old. My date of birth is March 3, 2001. My cousin's name is              and I were
       raised as sisters. She is 9 and she was years old and was born on June 18, 2009. We are from small
       village in Honduras called Lomas de Peniel.

   2. In Honduras, my cousin and I lived with my grandmother and my aunt. My mother was raped by drug
      dealers when she was nineteen (19). I was born as a product of that rape. My mother left Honduras and
      came to the United States when I was five (5) days old to save me and my grandmother from
      embarrassment and shame. She believed coming to the United States would to give me a better future.
      Unfortunately, she was caught by the Zetas, a drug cartel in Mexico, and was raped again while trying to
      escape. I didn't hear from my mother very much after that, but I knew that she made it to the United
      States. She lives in Alabama now.

   3. The small town where I am from is surrounded by hills and a forest, there are only about fifteen (15) or
      sixteen (16) homes in the town. Many drug dealers live in the hills". In October 2017, my grandmother
      and aunt told        and I that we had to leave Honduras. Five (5) days later, my grandmother told me
      that drug dealers told her that I was old enough to be used as a woman and that they would take me like
      they took my mother. My grandmother feared for our safety, so we had to leave. I was scared too
      because the drug dealers had beaten my uncle,            ather, when he refused to work with them. My
      uncle was covered in blood and was hurt badly, he fled to Mexico after he was beaten.

   4. We took a bus from Honduras to Guatemala in October 2017. We stayed in Guatemala for five (5)
      months cleaning houses and saving money for two months. During that five months we moved slowly
      through Guatemala towards Mexico. Sometimes we walked, sometimes we took a bus. When we got to
      the Mexican border, we paid someone to take us to Mexico on a boat. Once in Mexico, we cleaned
      houses to save money. Some of the families that we cleaned for let us stay in their houses. When we had
      enough money, truck driver took us Tijuana, Mexico. We were in Tijuana for two (2) months before our
      number was called and we were allowed to present ourselves at the border.

   5. We presented ourselves at the border about one (1) day ago on July 5, 2018 around 12:00PM. We were
      taken to San Ysirdro. The guards took our fingerprints and photos and made us wait. Then the guards
      called us into a conference room and asked me my name and asked me why I was here. I told them that I
      was here to see my mother and the guard asked me why I would come here to live with someone I had
      never met. Then, the guards took us to a room full of other women and children. We were given thin
      cushions and blankets, and were told to sleep on the floor.

   6. Shortly after we arrived, we were given juice, a sandwich and vegetables. We ate again in the evening
      around 6:00PM, we were given chicken nuggets, crackers and juice. The food was cold and hard. I fell

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       asleep after dinner and I don't know if they offered us food again that night. In the morning, we were
       given cereal, milk and juice. My cousin doesn't like cereal, so she only had juice. We were told that we
       will eat every six hours.

    7. There are about fifty (50) to sixty (60) people in the room where I am staying. The room is very
       crowded and very cold. When the kids in the room make a lot of noise, the guards turn down the
       temperature to make it even colder. The room is cleaned once a day.

    8. There are three toilets and two sinks in the room. The sleeping area and the restroom are separated by a
       thin metal wall. There is no soap in restroom. I want to take a shower, but no one has asked me ifl want
       to take a shower yet. I met women who have gone three days without a shower, she said the guards told
       her that she could not take a shower .. No one has told me when I will be able to take a shower.

    9. I am very worried about my grandmother. She is seventy (70) years old. My grandmother has heart
       problems and high pressure, she was prescribed medication in Mexico. My grandmother brought her
       medication, but the guards took it when we arrived. $he has to ask the guards every twelve hours to
       bring her medication. My grandmother's condition is getting worse, she cannot move her left arm.


    10. Since I have been here, no one has talked to me about my rights or my cousin's rights. The official who
        interviewed me when I got here told me that I will have to go in front of a judge. He also told me that I
        have a right to an attorney and he asked me to sign a paper. The form was in Spanish and it said that I
        had a right to an attorney and I right to call my mom in the United States. An official called my mom
        yesterday, I could hear my mother telling the official that she didn't understand everything that he was
        saying. I don't know ifl have any other rights here.

    11. No one has told me when I will get to see my mom or when I will leave here. I am nervous here because
        no one is telling me what will happen next, but I am more scared to go back to Honduras.

I, LEXYER B                                   swear under penalty of perjury that the above declaration is true
and complete to the best of my abilities. This declaration was provided in Spanish, a language in which I am
fluent, and was read back to me in Spanish.




                                                             0 615 v\\O IZO )o
                                                             Date




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                                 Certificate of Translat:i n


I, HECTOR RIVERA certify that I am fluent in English and Spanish and that I read the ~bove declaration to
LEXYER.B                             n Spanish.




HECTOR RIVERA
ORRICK
1000 Marsh Road
Menlo Par~ CA 94025



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Date
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                                                  Declaration of
                  LETICIA D


       I, LETICIA D                                                                 declare under penalty of
perjury that the following is true and correct to the best of my knowledge and recollection.

    1. My date of birth is July 5, 1989. My daughter's name is                           She is 11 months old and
       she was born on August 16, 2017. My daughter and I are from El Salvador.

   2. Describe Reason for leaving country of origin.

        I left El Salvador with my husband, my two daughters (including           and my son. When we were
        living in El Salvador my husband was working away from the house and I was home with my children.
        A member of the gang 18 told me that he wanted me to be his "woman". I said no. While I was
        walking with my children, including           the man took         from my arms, grabbed me off the
        street with my children and took me to a house. He let me go because my six year old daughter was
        screaming and a police car just happened to go by the house. He told me that if I reported the attack, he
        would kill me and my children. My husband and I determined that we had to leave. We know that
        after we left, the gang has gone to our house and kicked the door down looking for us.

        In addition, my husband was required to pay extortion payments to MS-13 on his earnings.

        My husband, son and older daughter crossed the border before us. My daughter and I crossed the
        border about a week after they did.

        I am afraid to return to El Salvador.

   3. We presented ourselves at the border about 8 am on July 4, 2018. We were taken to the San Ysidro
      Detention Facility- the Pedestrian West Facility.

   4. I arrived with my daughter at 8 in the morning. We were first offered food around noon. It was a bean
      and egg burrito for me that was hot. My daughter was offered fruit juice. My daughter is provided with
      pureed food (carrots or potatoes) at 6 am and at noon. Otherwise, I have access to a bottle and formula
      at all times of the day.

       Mostly she is having formula and breast milk.

       There is water available in the room and disposable cups to drink.

   5. The room is very cold- it feels like the air conditioning is always on. My daughter has trouble sleeping
      because she is too cold. We have only one blanket to share.

   6. There are three toilets in the room where we are held. It is closed to the side but you can see out the
      front. There is toilet paper. There is a sink in each toilet area, but there is no soap and no paper to dry
      hands. We have access to diapers as needed and I have access to feminine hygiene products.




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7. I have not been offered an opportunity take a shower or to bathe my daughter. I have not been given the
   opportunity to clean our clothes. This morning, my daughter's diaper leaked. We were provided with a
   replacement pair of pants for the dirty pants but have otherwise not received any clean clothes.

8. We are housed in a room with approximately 15 women and approximately 18 children. We have
   received a mat to sleep on that was about 3-4 inches thick. There is enough room for everyone but
   people are right next to you when you are sleeping. The door is locked all of the time and we are not
   able to leave.

9. The lights are on all of the time - they are turned down during the evening but the lights are still bright.
   We both have trouble sleeping and have to put the blankets over our heads in order to sleep.

10. We have not had a medical emergency but we know that it is difficult to get the attention of the facility
    staff. When we want something, we knock on the door but they often do not come quickly, if at all.

11. We have not been provided with any information about the legal process. I have not been provided with
    information regarding my daughter's legal rights. I have not been provided with the opportunity to use a
    phone to call an attorney.

12. My daughter and I have been at the San Ysidro - Pedestrian West Facility for about 2 days.

13. My husband has been released with my older daughter and son. He is in Virginia with his aunt. We are
    planning to join the rest of our family in Virginia once we are released.




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                                     CERTIFICATE OF SERVICE
1
           I, Peter Schey, declare and say as follows:
2

3          I am over the age of eighteen years of age and am a party to this action. I am
4
     employed in the County of Los Angeles, State of California. My business address is
5
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7          On July 19, 2018, I electronically filed the following document(s):
8
        • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9         DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10        9 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
          COURT DATED JULY 16, 2018]
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15

16                                                /s/Peter Schey
17                                                Attorney for Plaintiffs

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